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Exhibit U
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[AS AMENDED THROUGH JUNE 18, 2008]

BY-LAWS Y
Of
CONSERVATION LAW FOUNDATION, INC,

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ARTICLE I.

oe ee .  .. NAME.

The name of this Corporation shal! be Conservation Law Foundation, Inc.

ARTICLE I].
PURPOSES
YA
The purposes for which the Corporation is formed shall be as set forth in the Articles of
Organization.

The Corporation is organized and shal] operate exclusively for charitable, educational and
scientific purposes. No part of the net earnings, properties or other assets of the Corporation
shall inure to the benefit of, or be distributable to, any private person or individual, including any
employee, officer or Trustee of the Corporation, except that the Corporation shall be authorized
and empowered to pay reasonable compensation for services rendered and to make payments and
distributions in furtherance of the purposes set forth in the Articles of Organization. No
substantial part of the Corporation’s activities shall consist of carrying on propaganda, or
otherwise attempting, to influence legislation, and the Corporation shall not participate or
intervene (including the publishing or distributing of statements) in any political campaign on
behalf of or in opposition to any candidate for public office. In the event of dissolution of the
Corporation, none of its assets shall be distributed except to any organization qualifying as a tax
exempt charitable, educational or scientific organization under applicable Federal revenue
statutes.

ARTICLE Ii.
MEMBERSHIP

Section 1. Members. All interested persons, corporations or other entities and groups
may become members of the Corporation (“Members”) upon payment of dues and acceptance of
such dues by the Corporation. The Board of Trustees may establish rates of annual dues for
various categories of membership.
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Section 2. Rights and Responsibilities. Members shall have only such privileges as the
Trustees may designate from time to time and shall in such capacity have no right to notice of or
to vote at any meeting, shall not be considered for purposes of establishing a quorum, and shall
have no other rights or responsibilities.

ARTICLE TV
OVERSEERS

Section 1, Overseers. The Board of Trustees shall initially designate Overseers of the
Corporation. It is expected that Overseers shal] be individuals who support the mission of the
—-———~-—--—- Corporation-and-are civic leaders-with-a-strong-interest in-conservation and protecting the.
environment and who, with their energy, expertise and/or financial resources, will support and
increase the Corporation’s impact. The number, term and election of Overseers shal! be as
provided in Section 3 hereof. The Chairman of the Corporation shall ex officio be and Overseer.

Section 2. Rights and Responsibilities. Overseers shall have the right to elect the
Trustees as set forth in Article V and shal] have such powers and duties as are set forth in these
by-laws. They shall advise the staff and the Trustees on matters of policies or programs affecting
the Corporation. The Overseers shall have exclusive authority to take any and all actions and
votes required or permitted to be taken by members under Chapter 180 of the General Laws of
The Commonwealth of Massachusetts.

Section 3. Number, Term and Election. The total number of Overseers of the
Corporation shal] be not less than ten (10). They shal! be elected for three (3) year terms which
shall be staggered so that approximately one-third of the Overseers are elected each year. After
the initial designation of Overseers by the Trustees, Overseers shall thereafter be elected by those
Overseers present in person or by proxy at the Annual Meeting of the Overseers or special
meeting in lieu thereof. Each Overseer shall serve until the next Annual Meeting of the
Overseers or special meeting in lieu thereof at which such Overseer’s term expires. The Board
of Trustees may between Annual Meetings elect Overseers who shall serve until the next Annual
Meeting of Overseers or special meeting in lieu thereof, at which time they shall be considered
for election to a regular three (3) year term by the Overseers,

ARTICLE V.
BOARD OF TRUSTEES

Section 1. Number, Term and Election of Trustees; Qualifications. Trustees shall be
elected for three year terms which shall be staggered so that approximately one-third of the
Board of Trustees is elected each year. It is expected that Trustees shal] be individuals who
support the mission of the Corporation and are civic leaders with a strong interest in conservation
and protecting the environment and who, with their energy, expertise and/or financial resources,

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will support and increase the Corporation’s impact. Trustees shall be elected by the Overseers of
the Corporation at the annual meeting of the Overseers or at a special meeting in lieu thereof, at
which meeting the Overseers shall determine the number of Trustees, which shal! not be less
than seven (7) nor more than twenty (20), for the ensuing year. Each Trustee shall serve until the
next annual meeting of Overseers or special meeting in Jieu thereof at which such Trustee’s term
expires. Within the limits prescribed above, the size of the Board of Trustees may be increased
at any meeting of the Overseers or of the Board of Trustees.

Section 2. Vacancies. Vacancies created by the death, removal or resignation of one or
more Trustees, by the increase of the size of the Board of Trustees or otherwise, may be filled by
the Trustees remaining in office. Persons so elected to fill vacancies shall serve until the next
Annual Meeting of Overseers or special meeting in lieu thereof at which time they shall be

“¢onsidéred for election to a regular three (3) year term by the Overseers.

Section 3. Powers. The management of the affairs of the Corporation shall be vested in
and exercised by the Board of Trustees. The Board of Trustees shall be considered as having the
powers of directors in accordance with the provisions of Chapter 180 and applicable provisions
of Chapter 156B of the General Laws of The Commonwealth of Massachusetts. To the extent
permitted by law, the Board of Trustees may, by general resolution, delegate to the President or
to other officers of the Corporation such powers as they may see fit.

Section 4. Compensation and Expenses. The Board of Trustees shall have the power and
authority, in its discretion, to contract for and to pay Trustees, as such, compensation for unusual]
or special! services rendered to the Corporation, provided, that any such compensation shall be
reasonable and appropriate to the value of the services rendered by the Trustees, and further
provided that any such payment shall be disclosed to the Board of Trustees.

Section 5. Resignation of Trustees. Any Trustee may resign by delivering a written
resignation to the Chairman, the President, the Clerk, or to a meeting of the Board of Trustees.

 

Section 6. Removals. At any meeting called for the purpose, the Overseers may remove
from office any Trustee with or without cause. The Board of Trustees may, by affirmative vote
of a majority of the Trustees in office, remove any Trustee from office with cause. Any Trustee
may be removed for cause only after reasonable notice and opportunity to be heard before the
body proposing to remove such Trustee.

Section 7. Committees. The Board of Trustees may appoint an Executive Committee
and such other operating committees as it determines to be necessary or desirable from time to
time for the efficient operation of the business of the Corporation, and shall elect from its
membership members of such committees. In addition, the Chairman may appoint such other
members of any committee and designate ex-officio members who, in each case, are not
members of the Board of Trustees as he deems appropriate, provided that any action taken by
such committee which can only be lawfully done by committee members who are also members
of the Board of Trustees shall be taken by vote of such members of the Committee. The
Executive Committee shall have al! the powers of the Board of Trustees with respect to the

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management of the current and ordinary business of the Corporation between meetings of the
Board of Trustees, and shal! report all actions taken by it to the Board of Trustees,

Anything to the contrary herein notwithstanding, no committee shall have any power
prohibited by law, the Articles of Organization, or these By-Laws, including the power:

(a) to change the principal office of the Corporation;

(b) to amend or authorize the amendment of the Articles of Organization or these
By-Laws;

(c) to elect officers required by law or these By-Laws to be elected by the Overseers
.. or. Trustees or-to fill vacancies in any such office; . _

 

(a) to change the size of the Board of Trustees or to fill vacancies in the Board of
Trustees; or

(e) to remove Officers or Trustees from office.

Each member of a committee shall hold office at the pleasure of the Board of Trustees or
the Chairman, depending upon which of the two appointed such member.

One-third of the members of any committee shal] constitute a quorum for the transaction
of business, but any meeting may be adjourned from time to time by a majority of the votes cast
upon the question, whether or not a quorum is present, and the meeting may be held as adjourned
without further notice. Each committee may make mules not inconsistent herewith for the
holding and conduct of its meetings, but unless otherwise provided in such rules its meetings
shall be held and conducted in the same manner, as nearly as may be, as is provided in these
By-Laws for meetings of the Board of Trustees.

ARTICLE VI.
MEETINGS

Section 1, Meetings of the Overseers.

(a) Annual Meeting. The annual meeting of the Overseers shall be held
during the month of October each year for the purpose of electing Overseers and Trustees
and transacting such other business as may properly come before the meeting, such
meeting to be held on such day and at such time and place as the Chairman, President or
Board of Trustees may determine. If in any year the annual meeting is not held, a special
meeting may be held in lieu thereof at a later time, and any elections held or business
transacted at such special meeting shall have the same effect as if held or transacted at the
annual meeting.

(b) Special Meetings. A special meeting of the Overseers shall be called by
the Clerk upon the request of the Chairman, President or the Board of Trustees. A special

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meeting of the Overseers shall be called by the Clerk or, in the case of the death, absence, iy
incapacity or refusal of the Clerk, any other officer upon written application of ten or 3
more of the Overseers, stating the time, place and purposes of such meeting. Ly

(c) Notice, Written notice of meetings of the Overseers shall be given to each
Overseer by leaving such notice at such Overseer’s residence or usual piace of business
or by mailing the same, postage prepaid, addressed to such Overseer at such Overseer’s
address as it appears upon the records of the Corporation, not less than seven days before
the meeting, or by facsimile, electronic mail, telephone or voicemail at least forty-eight
hours before the meeting. No notice of the time, place or purposes of any annual or
special meeting of the Overseers shal] be required to be given to any Overseers who are
present at the meeting or who waive notice thereof before or alter u the umceung bya a

 

 

writifig Which is filed’ with the records of the-meeting. : ~ - Sa. She

(d) Quorum. At any meeting of Overseers, five (5) Overseers present in
person or by proxy shall constitute a quorum for the transaction of business. In the
absence of a quorum, or when a quorum is present, any meeting may be adjourned from
time to time, without notice other than by announcement at the meeting, and without
further notice. At any adjourned meeting at which a quorum shall be present, any
business may be transacted which might have been transacted at the meeting as originally
called.

(e) Voting. At any meeting of Overseers, each Overseer present shall be
entitled to one vote. Any Overseer may vote at any meeting by an attorney named as a
proxy signed by such Overseer and filed with the Clerk prior to the commencement of the
meeting. When a quorum is present, the vote of a majority of the Overseers present at the
meeting in person or by proxy shall decide any matter voted on by the Overseers unless a
larger vote is required by law, the Articles of Organization or these By-Laws,

Section 2. Meetings of the Board of Tnustees.

(a) Annual Meeting. The Trustees shall hold an annual meeting each year
concurrently with their next regular meeting following the annual meeting of the
Overseers, provided, however, that if no such regular meeting is held before the
expiration of six weeks from such annual meeting of the Overseers, the annual meeting of
the Trustees shall be held upon reasonable notice as soon thereafter as reasonably
practicable on such day and at such time and place as the Chairman, the President or the
Board of Trustees may determine,

(b) Regular Meetings. Regular meetings of the Board of Trustees may be
held at such times and places as shall from time to time be fixed by resolution of the
Board and no notice need be given of regular meetings held at the times and places so
fixed, provided, however, that, if any Trustee is absent from any meeting of the Trustees
at which a resolution is adopted fixing the times or places for any regular meetings, no
meeting shall be held pursuant to such resolution unti] either each such absent Trustee has

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in writing or by electronic mail approved the resolution or, in the absence of a response,
seven days have elapsed after a copy of the resolution has been mailed to each such
absent Trustee at his or her last known home or business address.

(c) Special Meetings. Special meetings of the Board of Trustees may be held
at any time and at any place when called by the Chairman, President or three or more
Trustees, upon reasonable notice, stating the time and place of said meeting.

(d) Notice. Any notice required under this Section 2 shall be given to each
Trustee by the Clerk, or, in the case of the death, absence, incapacity or refusal of the
Clerk, by the Chairman, President or the Trustees calling the meeting. Special meetings
may be held at any time without call or formal notice, provided ail the Trustees are
present ‘or waive notice-thereof-before or after the meeting-by.a writing. which is-filed
with the records of the meeting. Notice to a Trustee of any meeting shall be deemed to
be sufficient if sent by mail at least three days prior to such meeting, addressed to such
Trustee at such Trustee’s usual or Jast known business or residence address, or by
facsimile or electronic mail at least twenty-four hours before the meeting, or if given in
person, either by telephone or voicemail or by handing such Trustee a written notice at
least twenty-four hours before the meeting.

(e) Quorum. Five (5) of the Trustees in office at the time a meeting is duly
called and held shall constitute a quorum. When a quorum is present at any such
meeting, the vote of a majority of the Trustees present shal] be necessary and sufficient
for election to any office or for a decision on any matter, except as otherwise required by
Jaw, by the Articles of Organization or by these By-Laws. Whether or not a quorum is
present, any meeting may be adjourned from time to ime by a majority of the votes cast
upon the question, without notice other than by announcement at the meeting, and
without further notice to any absent Trustee, At any adjourned meeting at which a
quorum shall be present, any business may be transacted which might have been
transacted at the meeting as originally called.

(f) Consent in Lieu of Trustees’ Meeting. Any action required or permitted to
be taken at any meeting of the Trustees may be taken without a meeting if all Trustees
entitled to vote on the matter consent to the action in writing and the written consents are
filed with the records of the meetings of the Board of Trustees. Such consents shall be
treated for all purposes as a vote at a meeting of the Board of Trustees.

(g) Telephone Conference Meetings. The Trustees or the members of any
committee may participate in a meeting of the Trustees or such committee by means of a
conference telephone or similar communications equipment by means of which all
persons participating in the meeting can hear each other at the same time, and
participation by such means shall constitute presence in person at a meeting.

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ARTICLE VIL
OFFICERS

Section 1. Officers. The officers of the Corporation shall consist of a Chairman, a
President, a Treasurer, a Clerk and such other officers as the Board of Trustees may, in its
discretion, elect. The Board of Trustees shall have power at any time to create additional offices
and to appoint persons to hold the offices so created.

 

Subject to Jaw, the Articles of Organization and the other provisions of these By-Laws,
each officer shall have, in addition to the duties and powers herein set forth, such duties and
powers as the Board of Trustees may from time to time designate.

The Chairman, the President and the Treasurer shall be elected annually by the Board of
Tmstees from among their own number. The Clerk, who shall be a resident of Massachusetts,
shall be elected annually by the Board of Trustees. Such other officers of the Corporation as
may be created in accordance with these By-Laws may be filled by vote of a majority of the
Trustees present at any meeting at which a quorum is present.

Each officer shall hold office until the first meeting of the Board of Trustees following
the next annual meeting of Overseers or unti) such officer’s successor is elected or appointed and
qualified, or until such officer sooner dies, resigns, is removed, or becomes disqualified.

Any officer, employee, or agent of the Corporation may be required, as and if determined
by the Board of Trustees, to give bond for the faithful performance of such person’s duties.

Section 2, President and Vice Presidents. The President shall be the chief executive
officer of the Corporation. The President, subject to ratification by the Chairman, shall have the
power to appoint and designate the duties and powers of Vice Presidents.

Section 3. Chairman and Vice Chairmen. The Chairman shall perform the duties
customarily pertaining to the office of Chairman of a non-profit corporation such as the
Corporation. The Chairman shall preside at all meetings of the Overseers and of the Board of
Trustees at which the Chairman is present except as otherwise voted by the Board of Trustees,
Any Vice Chairman shall have such duties and powers as shall be designated from time to time
by the Board of Trustees. In the Chairman’s absence or inability to act, the Vice Chairman or, if
there be more than one, the Vice Chairman designated by the Board of Trustees shall have the
powers and duties of the Chairman.

Section 4. Clerk; Assistant Clerk. The Clerk shal] record al} proceedings of the
Overseers and the Board of Trustees in books to be kept therefor, and shall have custody of the
Corporation’s records, documents and valuable papers. In the absence of the Clerk from any
such meeting, the Assistant Clerk, if any, shall record the proceedings thereof in the aforesaid
books, or a temporary clerk may be chosen by vote of the meeting.

 

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Unless the Board of Trustees shall otherwise designate, the Clerk or, in his or her
absence, the Assistant Clerk, if any, shall have custody of the corporate seal and be responsible
for affixing it to such documents as may required to be sealed.

The Clerk shall have such other duties and powers as are commonly incident to the office
of a corporate clerk of a non- profit corporation such as the Corporation, and such other duties
and powers as may be prescribed from time to time by the Board of Trustees or by the Chairman.

Any Assistant Clerk shall have such duties and powers as shall from time to time be
designated by the Board of Trustees or the Clerk and shall be responsible to and shall report to
the Clerk.

Section 5, Treasurer. The Treasurer shal] be in charge of the Corporation’s funds and the
disbursements thereof, subject to the Board of Trustees, and shall have such duties and powers as
are commonly incident to the office of a corporate treasurer of a non-profit corporation such as
the Corporation and such other duties and powers as may be prescribed from time to time by the
Board of Trustees. The Treasurer shall, subject to such conditions and restrictions as may be
made by the Board of Trustees, have custody of all monies, debts, obligations, contracts,
documents and other papers of a financial nature belonging to the Corporation and shall be
responsible for collecting all monies from time to time due and owing to the Corporation and
disbursing the same pursuant to the contracts and obligations of the Corporation or to the order
of the Board of Trustees. The Treasurer shal] prepare an annual statement in detail of the
iinances of the Corporation and an estimate of the receipts and expenditures for the next fiscal
year. The Treasurer shal! execute and deliver, on behalf of the Corporation, all such instruments
under its corporate seal as may be ordered by the Board of Trustees and shal] perform such other
duties as the Board of Trustees may from time to time require.

Section 6. Assistant Treasurer. Any Assistant Treasurer shall have such duties and
powers as shall be prescribed from time to time by the Board of Trustees or by the Treasurer, and
shall be responsible to and shal! report to the Treasurer. In the Treasurer’s absence or inability to
act, the Assistant Treasurer or, if there be more than one, the Assistant Treasurer designated by
the Board of Trustees shall have the powers and duties of the Treasurer.

Section 7, Resignations, Any officer of the Corporation may resign at any time by
giving written notice to the Corporation by delivery thereof to the Chairman, the President, the
Clerk, or to a meeting of the Board of Trustees.

Section 8. Removals. The Board of Trustees may, by affirmative vote of a majority of
the Trustees in office, remove from office the Chairman, the President, the Clerk, the Treasurer
or any other officer or agent of the Corporation with or without cause. Any officer may be
removed for cause only after reasonable notice and opportunity to be heard.

Section 9. Vacancies, If there is a vacancy in any office of the Corporation, the Board of
Trustees may elect or appoint a successor or successors. Each successor shal] hold office for the

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unexpired term and until such officer’s successor shal! be elected or appointed and qualified, or
until such officer sooner dies, resigns, is removed or becomes disqualified.

Section 10. Compensation. The Board of Trustees shall have the power and authority, in
its discretion, to contract for and to pay officers, as such, compensation for unusual or special
services rendered to the Corporation provided, that any such compensation shall be reasonable
and appropriate to the value of the services rendered by the officers.

ARTICLE VIL
OTHER COMMITTEES AND HONORARY DESIGNATIONS

Section |. Board Advisory Committees. The Board of Trustees may at any time appoint

 

“such advisory committees to provide advice-or-other -guidance-to the-Board of. Trustees as.are =a Se

deemed desirable (each a “Board Advisory Committee”), including, without limitation, Board
Advisory Committees, known as “State Boards”, for each State in which the Corporation has an
office, to provide advice and other guidance to the Board of Trustees and the staffs of such
offices with respect to the Corporation’s cases and other activities in that State. The Board of
Trustees may from time to time designate or alter the duties of any Board Advisory Committee
or change its membership, and may at any time abolish any Board Advisory Committee. Any
Board Advisory Committee may include persons who are not Trustees, Overseers or Members.

Section 2. Sponsors, Benefactors, Contributors, Advisors, Friends of the Corporation.
The Trustees or the Chairman may designate certain persons or groups of persons as sponsors,
benefactors, contributors, advisers or friends of the Corporation or such other title as they deem
appropriate. Such persons shall serve in an honorary capacity and, except as the Trustees shall
otherwise designate, shall in such capacity have no right to notice of or to vote at any meeting,
shall not be considered for purposes of establishing a quorum, and shall have no other rights or
responsibilities.

ARTICLE IX,
CONTRACTS AND DEALINGS WITH CERTAIN OTHER ORGANIZATIONS

The Overseers, Trustees, officers and employees of the Corporation may be connected
with other organizations with whom from time to time the Corporation may have business
dealings. No contracts or other transactions between the Corporation and any other organization,
and no acts of the Corporation, shall be affected by the fact that any Overseer, Trustee, officer or
employee of the Corporation is pecuniarily or otherwise interested in or is a shareholder, trustee,
officer or partner of such other organization. Any Overseer, Trustee, officer or employee
individually, or any organization of which such Overseer, Trustee, officer or employee may be a
member, may be a party to or may be pecuniarily or otherwise interested in any contract or
transaction of the Corporation, provided that the fact that such Overseer, Trustee, officer,
employee or such organization is so interested shall be disclosed or shall have been known to the
Board of Trustees or Executive Committee prior to the meeting at which, or prior to the Trustees
executing their written consents by which, action to authorize, ratify or approve such contract or
transaction shall be taken. Any Trustee of the Corporation may vote upon or give such Trustee’s

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written consent to and any member of the Executive Committee may vote upon any contract or
other transaction between the Corporation and any other organization without regard to the fact
that such Trustee or member of the Executive Committee is also a shareholder, director, trustee,
partner or officer of such other organization. Any contract, transaction, or act on behalf of the
Corporation in a matter in which any Overseer, Trustee, officer or employee is personally
interested as a shareholder, director, trustee, partner, officer, or otherwise shall not be violative
of any proscriptions against the Corporation’s use or application of its funds for the private
benefit of individuals. In no event, however, shail any persons or other organization dealing with
Overseers, Trustees, officers or employees of this Corporation be obligated to inquire into the
authority of such persons to enter into and consummate any contract, transaction, or other action.

ARTICLE X.
INDEMNIFICATION

The Corporation shall, to the extent legally permissible, indemnify each person or
corporation who serves as one of its Overseers, Trustees, officers, employees or other agents, or
as a member of a Board Advisory Committee, or who serves at its request as a member, trustee,
director, officer, employee or other agent of another organization or in such capacity with respect
to any employee benefit plan (each such person or corporation, including such person’s heirs,
executors and administrators, and such corporation’s successors and assigns, being herein called
a “Person’’) against all liabilities and expenses, including amounts paid in satisfaction of
judgments, in compromise or as fines and penalties, and counsel fees, reasonably incurred by
such Person in connection with the defense or disposition of any action, suit or other proceeding,
whether civil or criminal, in which such Person may be involved or with which such Person may
be threatened, while in office or thereafter, by reason of being or having been such a Person,
except with respect to any matter as to which such Person shall have been adjudicated in any
proceeding not to have acted in good faith in the reasonable belief that his, her or its action was
in the best interests of the Corporation. Any Person who at the request of the Corporation serves
another organization or an employee benefit plan in one or more of the above indicated
capacities and who shall have acted in good faith in the reasonable belief that his or her action
was in the best interests of such other organization or in the best interests of the participants or
beneficiaries of such employee benefit plan shall be deemed to have acted in such manner with
respect to the Corporation.

Notwithstanding the foregoing, as to any matter disposed of by a compromise payment
by any Person, pursuant to a consent decree or otherwise, no indemnification either for said
payment or for any other expenses shal] be provided unless such compromise shall be approved
as in the best interests of the Corporation, after notice that it involves such indemnification, (i) by
a majority of the Trustees then in office, provided that none of such approving Trustees are
interested Trustees; or (ii) by a majority of the Trustees then in office who are not interested
Trustees; or (iii) by a majority of the Overseers, none of whom are interested Overseers;
provided that in any such case the appropriate majority determines that such Person appears to
have acted in good faith in the reasonable belief that his, her or its action was in the best interests
of the Corporation.

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Expenses, including counsel fees, reasonably incurred by any Person tn connection with
the defense or disposition of any such action, suit or other proceeding may be paid from time to
time by the Corporation in advance of the final disposition thereof upon receipt of an
undertaking by such Person to repay the amounts so paid if such Person ultimately shal! be
adjudicated to be not entitled to indemnification under this Article X. Such an undertaking may
be accepted without reference to the financial ability of such Person to make repayment.

Each Person shall be deemed to have accepted and to have continued to serve in the
office which he, she or it holds in reliance upon the provisions of this Article X. Such provisions
shall be separable, and if any portion thereof shall be finally adjudged to be invalid, such
invalidity shall not affect any other portion which can be given effect. Such provisions shall not
be exclusive of any other right which any Person may have or hereafter acquire, whether under
any by-law, vote of members entitled to vote, agreement, judgment, decree, provision of law or
otherwise; and such provisions and all other such rights shall be cumulative.

The Corporation, by vote of its Board of Trustees, may purchase and maintain insurance
on behalf of any Person against any liability incurred by him in any such capacity or arising out
of his status as such, whether or not the Corporation would have the power to indemnify such
Person against such liability.

As used in this Article X, an “interested” Overseer or Trustee is one against whom in
such capacity the proceeding in question, or another proceeding on the same or similar grounds,
is then pending.

ARTICLE XI.
EXECUTION OF PAPERS

Except as the Board of Trustees may generally or in particular cases authorize or direct
the execution thereof in some other manner, all deeds, leases, transfers, contracts, proposals,
bonds, notes, checks, drafts, and other obligations made, accepted or endorsed by the
Corporation shall be signed or endorsed on behalf of the Corporation by the Chairman, the
President or the Treasurer, or their designees.

ARTICLE XU.
SOURCE AND INVESTMENT OF FUNDS

Funds for the operation of the Corporation and for the furtherance of its objectives and
purposes may be derived from grants and allocations from governmental or private agencies or
bodies, donations from public and private organizations, associations and individuals, bonds or
notes issued for the benefit of the Corporation, fees, and such other sources as may be approved
by the Board of Trustees. Except as otherwise provided by law or lawfully directed by any
grantor or donor, the Corporation may retain or dispose of al] or any part of any real or personal
property acquired by it and invest and reinvest any funds held by it according to the judgment of

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the Board of Trustees, without being restricted to the class of investments which fiduciaries are
or hereafter may be permitted by law to make.

ARTICLE XIII.
PROHIBITION REGARDING THE USE OF FUNDS AND
DISTRIBUTION OF ASSETS ON DISSOLUTION

No part of the net earnings or receipts of the Corporation shall inure to the benefit of
any Trustee or officer of the Corporation or any private individual, provided, however, that this
prohibition shall not prevent the payment to any person of such reasonable compensation for
services actually rendered to or for the Corporation in conformity with these By-Laws. No
Trustee or officer of the Corporation, or any private individual, shall be entitled to share in the
distribution of any of the corporate assets on dissolution of the Corporation. Upon such
dissolution or winding up of the affairs of the Corporation, whether voluntary or involuntary, the
assets of the Corporation then remaining in the hands of the Board of Trustees shall be
distributed, transferred, conveyed, delivered and paid over to such charitable, educational,
scientific, religious or literary organization or organizations as the court of the Commonwealth
having jurisdiction thereof may approve (if such approval shall then be required by statute), and
as shall at the time qualify as an exempt organization or organizations under Section 501(c)(3)
of the Internal Revenue Code, as the Board of Trustees shall determine, and upon such terms and
in such amounts and proportions as the Board of Trustees may impose and determine, to be used
by such organizations for such similar or kindred purposes as are set forth in the Articles of
Organization and any and alJ amendments thereto.

ARTICLE XIV.
SEAL

The seal of the Corporation shall, subject to alteration by the Board of Trustees, consist
of a flat-faced circular die with the word “Massachusetts,” together with the name of the
Corporation and the year of incorporation, cut or engraved thereon. An impression Of the seal
impressed upon the original copy of these By-Laws shall be deemed conclusively to be the seal
adopted by the Board of Trustees.

ARTICLE XV.
FISCAL YEAR

The fiscal year of the Corporation shal] be from the first day of August through the last
day of July, or such other fiscal year as the Board of Trustees of the Corporation may from time
to time select.

ARTICLE XVL.
AMENDMENTS

The By-Laws may be added to, amended or repealed, in whole or in part, by the
Overseers, or by the Board of Trustees subject to ratification by the Overseers,

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